UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA

SOUTHERN FILTER MEDIA, LLC CIVIL ACTION NO:
3:13-CV-00116- JJB-RLB
VERSUS
JUDGE: BRADY
TIMOTHY P. HALTER MAG. JUDGE: BOURGEOIS

MEMORANDUM IN SUPPORT OF
MOTION TO COMPEL DISCOVERY RESPONSES

For the reasons submitted herein and pursuant to Federal Rule of Civil Procedure 37(a),
Plaintiff Southern Filter Media, LLC (“SFM”) request that this Court enter an order requiring
defendant Timothy P. Halter (“Halter”) to fully respond to certain discovery propounded him it.
In further support of their Motion, the SFM show as follows:

1. BACKGROUND

This suit arises out of the fraudulent conduct, intentional or negligent misrepresentations,
and omissions of Halter surrounding the negotiation and perfection of a take or pay contract
between Louisiana company SFM and Titan Sand USA, L.L.C. (“Titan”) of which Halter is the
chairman and manager. SFM contends that it has been significantly damaged and defrauded by a
shell game constructed by Halter.

On or about August 8, 2011, Jeremy Warren, Director of Logistics of Titan, met with
representatives of SFM, including Matthew D. Bryant, to discuss a potential agreement whereby
SFM would supply Titan with sand for use in the oil field industry. After this initial meeting,
Warren informed SFM that what he called Titan’s “CFO,” Halter, and its “CEO,” Stephen

Schubarth, would fly in to join Warren to discuss the proposal in person. On or about August 9,
2011, Halter (actually the chairman and manager of Titan), Schubarth (actually the president and
COO of Titan), and Warren met at SFM’s operation to further discuss the potential relationship.
Warren made it clear to SFM at the initial meeting the day before that “their CFO [Halter] was
flying in” to view the operation and address concerns regarding Titan’s short business history.
Because Titan was a risky, speculative, start-up venture, SFM expressed their concern that Titan
would not be able to fulfill the terms of the contract.

At the August 9, 2011 meeting, Halter represented that he owned Halter Financial Group
and that it was the “world leader in the reverse merger industry.” Warren invited representatives
of SFM to check its website which also repeats this claim. At the same meeting, Halter also
represented and held himself out as the “money guy.” Consistent with this representation,
Warren later remarked that Halter Financial Group and Halter personally could “easily pay the
entire MSA [take or pay contract] if necessary.” Halter along with his associates led SFM to
believe that the risk of contracting with a startup venture like Titan could be completely
mitigated by the backing of Halter Financial Group. That is precisely the impression that Halter
came down to give representatives of SFM and certainly negligently if not intentionally
represented.

It was on this basis that SFM agreed to enter the take or pay contract with Titan.
Everyone at the meeting from Titan—Halter, Schubarth, and Warren—left knowing that a
material cause of the contract would be a performance guarantee by the “money man” and his
world leading financial company. The contract was entered into on September 29, 2011 with the

guaranty being the centerpiece of the agreement.
Halter’s involvement and knowledge of the foregoing are confirmed by his signature on
the performance guaranty of Halter Financial Group, LP, not Halter Financial Group, though the
latter was clearly intended by SFM and represented by Halter.
rs representations and promises, had obligated itself and
induced SFM to enter into an eighteen month contract take-or-pay contract with Titan. Almost
immediately, Titan defaulted. On May 21, 2012, Titan filed for bankruptcy protection in the
Northern District of Texas, Case No. 1242886. After Titan defaulted and was unable to perform,
on May 14, 2012, SFM made demand upon Halter Financial Group pursuant to the Performance
Guaranty. Halter responded that Halter Financial Group, LP was a subsidiary entity of the Halter
Financial Group and had limited assets. When Halter FG did not respond, SFM filed suit to
recover against Halter Financial Group, LP, i.e., Southern Filter Media, LLC. v. Halter Financial
Group, LP, Civil Action No. 12-355, United States District Court for the Middle District of
Louisiana.

As Halter and Halter Financial Group, LP asserted that Halter Financial Group, LP had
no ability to pay, notwithstanding Halter’s representations and Halter Financial Group’s
extensive holdings, SFM filed an Amended Complaint which added HFG GP, LLC, the general
partner of Halter Financial Group, LP, as a defendant. On or about October 16, 2012, Halter
Financial Group, LP and HFG GP, LLC both filed for bankruptcy protection in the Northern
District of Texas, Case Nos. 12-36609 and 12-45783. On February 26, 2013, SFM filed this suit
to have Halter answer for his part in the scheme to induce SFM to enter into the take-or-pay

contract, while providing a shell company to guaranty performance of the contract, contrary to

the representations he made.
On May 21, Halter filed a Motion to Dismiss for Lack of Personal Jurisdiction, Improper
Venue, and Failure to State Claim w/ Declaration of Timothy P. Halter. This Honorable Court
denied that motion on July 8, 2013. SFM sent discovery to Halter on September 20, 2013 and on
the last day to respond, Halter objected to answering all of SFM’s interrogatories as being more
than allowed by FRCP 33 and provided limited responses to SFM’s requests for production of
documents. SFM filed for leave to serve the additional interrogatories.

On November 11, 2013, the parties held a telephone conference where they reached an
agreement on the number of interrogatories and discussed issues with discovery responses. SFM
verbally described the deficiencies it perceived in Halter’s answers to the discovery. The parties
also agreed to jointly submit a mutually agreeable protective order to the Court so that Halter
could produce additional documents. On November 26, 2013, Halter provided limited answers
and extensive objections to SFM’s interrogatories. On January 6, 2014, Halter provided SFM
with additional documents subject to the parties’ protective order. The production was limited in
scope.

On January 27, 2014, SFM sent Halter a 12 page deficiency letter, attached to SFM’s
Motion to Compel Discovery Responses as Exhibit A, requesting that Halter supplement his
responses to SFM’s discover by February 3, 2014. On the same day, Halter’s counsel informed
SFM that they were “reviewing and evaluating the purported deficiencies in Defendant’s
discovery responses.” Counsel advised that Halter would not be able to meet the February 3,

2014 deadline to respond but did not indicate when a response would be furnished or ask for

additional time. Counsel’s letter is attached to the Motion to Compel Discovery Responses as
Exhibit B. Halter failed to respond on February 3, 2014. Given that this discovery is necessary
so that SFM’s expert can prepare a report, SFM filed the instant motion to compel.

I. LAW AND ARGUMENT

The scope of discovery is broad and encompasses any matter that bears on, or that
reasonably could lead to other matter that could bear on, any issue that is or may be in the case.
Oregon Precision Indus., Inc. v. Int'l Omni-Pac Corp., 160 F.R.D. 592, 594 (D. Or. 1995) (citing
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380, 2389 (1978)).
Specifically, “[p]arties may obtain discovery regarding any nonprivileged matter that is relevant
to any party's claim or defense— including the existence, description, nature, custody, condition,
and location of any documents or other tangible things and the identity and location of persons
who know of any discoverable matter.” Fed. R. Civ. P. 26(b)(1). The instant case is one of
fraud or negligent misrepresentation. Given the complex maze of entities setup by Halter
through which he operates Halter Financial Group, it is necessary that certain information be
provided regarding that entity and its relationship with Halter Financial Group, LP—the entity
which was ultimately tasked with guaranteeing the take-or-pay contract. So far, Halter has
resisted SFM’s efforts to get to the bottom of what entities make up the business that operates as
Halter Financial Group.

Halter has thus far unilaterally limited his answers to discovery. Halter has provided bits
and pieces of relevant information here and there, but the comprehensive big picture relationship
of the entity known as Halter Financial Group is still well-hidden from SFM. Many of the
deficient answers regard interrogatories and requests for production asking for information on

the companies that have been defined in SFM’s discovery as “Halter Financial Group and its

5
related entities.” The definition provides very clear guidance on what is sought and also serves
to show how complex this entity has been organized. Here are the entities which SFM has been
able to identify in the public records and public filings: Halter Financial Group, LP; HFG GP,

TT 4

PH Capital, LP; Bellfieid Capital Partners, LP; River Green Capital, LLC; Colhurst

LLC; T
Capital LP; TPH Capital GP, LLC; Bellfield Capital Partners, LP; Bellfield Capital
Management, LLC; River Green Capital, LLC; Colhurst Capital, L.P.; Colhurst Capital GP,
LLC; HFG Consulting, L.L.C.; The Halter Group, Inc.; and Halter Financial Group, Inc. SFM
suspects yet other entities are involved in the chain and still does not have a clear answer as to
what entity or entities (if it is a conglomerate) are the parent companies of the enterprise doing
business as Halter Financial Group. Halter’s evasiveness on this issue has made it impossible for
SFM to evaluate its case.

Specifically, Halter has identified eight interrogatories and eight requests for production
to which a deficient answer has been provided. The majority concern the issue outlined above.
A few requested information about other lawsuits of which Halter was aware. One interrogatory
requested a list of assets and liabilities to check the veracity of the representation that Halter
could have paid the entirety of the take-or-pay contract. Another requested information that was
represented on the Halter Financial Group’s website that Halter given interviews to major
television, radio and print organizations and testimony in front of a U.S. Congressional
Committee. Another interrogatory sought the factual basis upon which Halter pleaded an
affirmative defense. SFM adopts as its arguments the entirety of Exhibit A, SFM’s deficiency

letter to Halte,r in support of each specific item listed therein.
Case 3:13-cv-00116-JJB-RLB Document 34-1 02/05/14 Page/7of7

It. CONCLUSION

SFM respectfully requests that this Court enter an order requiring defendant Timothy P.
Halter to answer the interrogatories and produce the documents outlined in Exhibit A to the
Motion to Compel Discovery Responses.
By Attorneys:

KANTROW, SPAHT, WEAVER & BLITZER
(A PROFESSIONAL LAW CORPORATION)
445 North Boulevard, Suite 300 (70802)

P.O. Box 2997

Baton Rouge, Louisiana 70821-2997
Telephone: (225) 383-4703

Facsimile: (225) 343-0630

By:___/s/ Keith J. Fernandez

Connell L. Archey (#20086)

Keith J. Fernandez (#33124)
Attorneys for Southern Filter Media, LLC

CERTIFICATE

I hereby certify that on the 5" day of February, 2014, I electronically filed the Motion to
Compel and the Memorandum in Support with the Clerk of Court using the CM/ECF system
which will send a notice of electronic filing to all counsel of record.

/s/ Keith J. Fernandez
Keith J. Fernandez

